 


                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

IN RE PRIMERA ENERGY, LLC                      §
      DEBTOR.                                  §   CASE NO. 15-51396-CAG
                                               §   Chapter 11
                                               §
J. SCOTT ROSE, AS RECEIVER.                    §
      Plaintiff,                               §
                                               §
v.                                             §
                                               §
SYNERGY E&P, LLC and                           §   Adv. Pro. No. 19-05001-cag
KRISTI M. ALFARO,                              §
     Defendants.                               §

                         STIPULATION EXTENDING TIME
                 FOR DEFENDANTS TO RESPOND TO THE COMPLAINT

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE CRAIG GARGOTTA:

        J. Scott Rose, as Receiver (the “Receiver”) and Synergy E&P, LLC and Kristi M. Alfaro

through their respective counsel, enter into this Stipulation Extending Time for Defendants to

Respond to the Complaint (the “Stipulation”) and hereby stipulate and agree as follows:

        1.       The Parties agree and stipulate that the time within which the Defendants may

answer, move, or otherwise plead to the Complaint is hereby further extended to and including

March 16, 2019.

Dated: February 11, 2019




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                            Respectfully submitted,

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                            COUNSEL FOR J. SCOTT ROSE, RECEIVER

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